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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


CAPE CLASP, LLC, a Massachusetts
Limited Liability Company
                                                       Case No.: 2:23-cv-4313-RMG
                      Plaintiff,
                                                       PLAINTIFF’S COMPLAINT FOR:
               -against-
                                                           1. Copyright Infringement
DORSAL BRACELETS, LLC, a South
Carolina Limited Liability Company                         2. Violations of the Digital
                                                              Millennium Copyright Act
                                                              (17 U.S.C §1202)
                      Defendants.
                                                       JURY TRIAL DEMANDED




       Plaintiff, Cape Clasp, LLC (“Plaintiff”), by and through its undersigned counsel, for its

Complaint against Defendant, Dorsal Bracelets LLC, alleges as follows:

                                    NATURE OF THE ACTION

       1.      Plaintiff seeks injunctive relief, damages, and attorneys’ fees as a result of

Defendant’s acts of infringement in violation of the Copyright Act of the United States and the

South Carolina Unfair Trade Practice Act.

                                            PARTIES

       2.      Plaintiff Cape Clasp, LLC is a Massachusetts Limited Liability Company with its

principal address at 474 Woods Hole Road, Falmouth, Massachusetts 02543.

       3.      Defendant Dorsal Bracelets, LLC is a South Carolina Limited Liability Company

with its principal address at 656 Ellis Oak Ave, Suite 101, Charleston, South Carolina 29412.

                                   JURISDICTION AND VENUE
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        4.     This action arises under the Copyright Act of 1976, Title 117 U.S.C. § 101, et seq.

        5.     This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and 1338 (a)

and (b).

        6.     The Court has personal jurisdiction over Defendant because Defendant is a South

Carolina Limited Liability Company with its principal headquarters located in this judicial

district.

        7.     Venue is proper under 28 U.S.C. § 1391(c) and 1400(a) because a substantial part

of the acts and omissions giving rise to the claims occurred here. Venue and personal jurisdiction

is also appropriate under Fed. R. Civ. P. 4(k)(2).

                                  FACTUAL BACKGROUND

        A.     Plaintiff’s Business

        8.     Plaintiff is a Massachusetts based jewelry design firm that uses marine life as

inspiration for its jewelry designs. Plaintiff is a purpose driven company that partners with

marine life organizations for each of its designs, donating 15% of its profits to these partner

organizations. Plaintiff has built up significant goodwill in its jewelry and its business through

its unique products and charitable partnerships.

        B.     Plaintiff’s Copyrighted Designs

        9.     Plaintiff is the owner of U.S. Copyright Registration No. VA-2-295-931 for the

work entitled “Great White Shark Clasp Bracelet” (the “Great White Design”),1 which is

comprised of a uniquely rendered 3-D design of a great white shark that is uniquely incorporated

into a bracelet, as depicted below:




1
 A true and correct copy of Plaintiff’s registration for the Great White Design is attached as
Exhibit A.

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       10.     Plaintiff is also the owner of U.S. Copyright Registration No. VA-2-291-788 for

the work entitled “Hammerhead Shark Clasp Bracelet” (the “Hammerhead Design”),2 which is

comprised of a uniquely rendered 3-D design of a hammerhead shark that is uniquely

incorporated into a bracelet, as depicted below:




       C.      Defendant’s Acts of Infringement

       11.     Defendant has created, manufactured, produced, imported, marketed, displayed,

sold, and distributed bracelet designs that infringe Plaintiff’s Great White Design and

Hammerhead Design (the “Infringing Products,” each, and “Infringing Product”).

                       Defendant’s Infringement of Plaintiff’s Great White Design

       12.     The first Infringing Product, a blatant knockoff of Plaintiff’s Great White Design,

was made available for sale to the public by Defendant.



2
 A true and correct copy of Plaintiff’s registration for the Hammerhead Design is attached as
Exhibit B.

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       13.    An overlay of the Great White Design with Defendant’s Infringing Product is

depicted below:



                       Overlay of Defendant’s Infringing Product with
                               Plaintiff’s Great White Design




       14.    Plaintiff created the above image by overlaying a photo of Defendant’s Infringing

Product over a photo of the Great White Design and adjusting the opacity of each photo to 50%.

The overlay demonstrates that Defendant’s Infringing Product design is strikingly similar—if not

identical—to Plaintiff’s Great White Design.

       15.    The striking similarity of Defendant’s Infringing Product to Plaintiff’s Great

White Design leads to the inescapable conclusion that Defendant copied Plaintiff’s Great White

Design.

       16.    Plaintiff is not alone in reaching this conclusion. Indeed, as depicted below,

multiple members of the public have “called out” Defendant on social media for “stealing”

Plaintiff’s Great White Design:


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        17.     At least one social media user described Defendant’s Infringing Products as

“cheap rip off[s] of the original by [Plaintiff].”

        18.     Evidently in response to the social media backlash surrounding Defendant’s

blatant infringement of Plaintiff’s Great White Design, Defendant replaced its Infringing Product

with a second Infringing Product that appears to have been designed to look less strikingly

similar to Plaintiff’s Great White Design.

        19.     However, despite Defendant’s revisions to its original Infringing Product, its

replacement Infringing Product remains strikingly similar to and derivative of Plaintiff’s unique

Great White Design, as demonstrated below:

         Plaintiff’s Great White Design                   Defendant’s Infringing Product




        20.     Moreover, upon information and belief, Defendant knowingly and with the intent

to induce, enable, facilitate, or conceal its infringement, stamped its replacement Infringing

Product with false copyright management information, attributing the Great White Design to


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Defendant rather than to Plaintiff, before distributing the Infringing Product and publishing

images of the Infringing Product online, including but not limited to on Defendant’s website.

         21.   Plaintiff does not claim to own the shape of a shark or the idea of incorporating a

shark design into a bracelet; plenty of other companies manufacture and sell bracelets

incorporating shark designs. However, there are a multitude of ways to express the idea of a

shark bracelet, and Plaintiff reserves the right to protect its original and unique expression of that

idea.

         22.   That Defendant copied Plaintiff’s original expression, despite the infinite number

of design choices that were available to Defendant, is all but confirmed by the dozens of non-

infringing shark bracelets that have been manufactured and sold by other companies. Examples

of non-infringing shark bracelets are depicted in Exhibit C. None of the dozens of examples

depicted in Exhibit C even come close to infringing Plaintiff’s unique Great White Design.

         23.   The originality and uniqueness of Plaintiff’s expression is further underscored by

the fact that the U.S. Copyright Office granted Plaintiff a copyright registration in its Great

White Design, found at registration number VA0002295931, putting Defendant on notice that

Plaintiff owned an exclusive copyright in its Great White Design.

                       Defendant’s Infringement of Plaintiff’s Hammerhead Design

         24.   In addition to Infringing Products that infringe Plaintiff’s Great White Design,

Defendant has created, manufactured, produced, imported, marketed, displayed, sold, and

distributed Infringing Products that infringe Plaintiff’s Hammerhead Design.

         25.   A side-by-side comparison of Plaintiff’s Hammerhead Design and Defendant’s

Infringing Product is depicted below:




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        Plaintiff’s Hammerhead Design                      Defendant’s Infringing Product




       26.     The above comparison, which demonstrates substantial similarity between

Defendant’s Infringing Product and Plaintiff’s Hammerhead Design, leads to the same

inescapable conclusion that Defendant has also infringed Plaintiff’s copyrights in the

Hammerhead Design. Plaintiff’s Hammerhead Design is registered with the United States

Copyright Office under registration number VA0002291788.

       27.     Again, Plaintiff is not alone in reaching this conclusion. As depicted below,

members of the public have “called out” Defendant on social media for “stealing” Plaintiff’s

Hammerhead Design:




       D.      Plaintiff’s Efforts to Enforce Its Rights Without Court Intervention

       28.     On June 16, 2022, Plaintiff, through counsel, sent Defendant’s Founder and CEO,

Chad Ross, a cease-and-desist letter regarding Defendant’s infringement in which Plaintiff

demanded that Defendant “immediately cease and desist in the unlawful use of [Plaintiff’s]

artwork.” Plaintiff further demanded that Defendant provide a complete accounting of its total

revenues and sales relating to the sale and distribution of its Infringing Products.




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       29.     On July 11, 2022, Defendant responded to Plaintiff’s cease-and-desist letter,

rejected Plaintiff’s demands, and called Plaintiff’s copyright claims “groundless” and

“meritless.” Defendant further suggested that the parties’ “collective interest” would be best

served by “leaving each other be.” After rejecting all of Plaintiff’s demands and describing

Plaintiff’s actions as “predatory,” Defendant ended its letter by stating that it “consider[ed] this

matter closed.”

       30.     Plaintiff brings this action to protect its intellectual property, enforce its

copyrights, and hold Defendant accountable for its blatantly unlawful infringement.

                                   FIRST CAUSE OF ACTION
                                     Copyright Infringement

       31.     Plaintiff repeats, realleges, and incorporates herein by reference as though fully

set forth, the allegations contained in the preceding paragraphs of this Complaint.

       32.     Plaintiff owns copyright registrations in the Great White Design and Hammerhead

Designs, registered with the United States Copyright Office under registration numbers

VA0002295931 and VA0002291788 respectively.

       33.     Plaintiff is informed and believes and thereon alleges that Defendant had access to

the Great White Design and Hammerhead Design, including without limitation through

Plaintiff’s webpage capeclasp.com where the designs are readily visible, prior to Defendant’s

creation of its Infringing Products.

       34.     Plaintiff is informed and believes and thereon alleges that Defendant infringed

Plaintiff’s copyrights by creating, manufacturing, producing, importing, marketing, displaying,

selling, and/or distributing bracelet designs that are strikingly and/or substantially similar to

Plaintiff’s Great White Design and Hammerhead Design.




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       35.       Due to Defendant’s acts of infringement, Plaintiff has suffered damages in an

amount to be established at trial.

       36.       Due to Defendant’s acts of copyright infringement as alleged herein, Defendant

has obtained profits it would not otherwise have realized but for its infringement of the Great

White Design and Hammerhead Design. As such, Plaintiff is entitled to disgorgement of

Defendant’s profits attributable to the infringement of the Great White Design and Hammerhead

Design in an amount to be established at trial.

                               SECOND CAUSE OF ACTION
             Violation of the Digital Millennium Copyright Act 17 U.S.C. § 1202

       37.       Plaintiff repeats, realleges, and incorporates herein by reference as though fully

set forth, the allegations contained in the preceding paragraphs of this Complaint.

       38.       Upon information and belief, Defendant knowingly and with the intent to induce,

enable, facilitate, or conceal its infringement, removed Plaintiff’s copyright management

information from the original designs and stamped its Infringing Product with false copyright

management information, attributing the Great White Design to Defendant rather than to

Plaintiff, before distributing its Infringing Product and publishing images of the Infringing

Product online, including but not limited to on https://dorsalbracelets.com/collections/sharks.

       39.       The aforementioned acts constitute tampering with “copyright management

information,” as that phrase is defined in 17 U.S.C. § 1202(c), in violation of 17 U.S.C.

§ 1202(a) and (b).

       40.       As a result of the foregoing, Plaintiff has been damaged and may recover those

damages as well as Defendant’s profits, and/or statutory damages, and attorneys’ fees under 17

U.S.C. § 1203.




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                                 THIRD CAUSE OF ACTION
                    Violation of South Carolina Unfair Trade Practices Act

       41.       Plaintiff repeats, realleges, and incorporates herein by reference as though fully

set forth, the allegations contained in the preceding paragraphs of this Complaint.

       42.      Defendant’s conduct, as alleged herein, constitutes intentional and willful unfair

methods of competition and unfair or deceptive acts or practices in commerce in violation of

South Carolina Code Ann. § 39-5-10 et seq.

       43.      Defendant’s conduct, as alleged herein, constitutes intentional and willful unfair

methods of competition that is likely to have an adverse impact upon the public.

       44.      Defendant’s intentional and willful unfair methods of competition and unfair or

deceptive acts or practices in commerce are capable of being repeated and are, in fact, being

repeated and have caused Plaintiff to suffer damages entitling it to relief permitted by South

Carolina Ann. § 39-5-140.

       45.      As a direct and proximate result of Defendant’s unfair competitive conduct in

contravention of South Carolina law, Plaintiff has been injured and suffers and will continue to

suffer monetary loss, including loss of sales, profits and damages in an amount to be determined.

       46.      Plaintiff is entitled to damages, treble damages and its costs and attorneys’ fees

incurred in this lawsuit.

                                     PRAYER FOR RELIEF

       Wherefore, Plaintiff prays for judgment as follows:

             a. That Defendant and its respective agents and servants be permanently enjoined

                from importing, manufacturing, distributing, offering for sale, selling or otherwise

                trafficking its Infringing Products;




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          b. That Plaintiff be awarded all profits of Defendant, plus all losses of Plaintiff,

              attributable to Defendant’s infringement, the exact sum to be proven at the time of

              trial, or, if elected before final judgment, statutory damages as available under the

              Copyright Act, 17 U.S.C. § 505, 1203;

          c. That Plaintiff be awarded its attorneys’ fees as available under the Copyright Act

              U.S.C. § 505, 1203;

          d. That Plaintiff be awarded exemplary and treble damages as allowed by the

              statutes and laws referenced herein;

          e. That Plaintiff be awarded pre-judgment interest as allowed by law;

          f. That Plaintiff be awarded the costs of this action; and

          g. That Plaintiff be awarded such further legal and equitable relief as the Court

              deems proper.

                                        JURY DEMAND

       Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P. 38 and the

Seventh Amendment to the United States Constitution.



       Dated: August 28, 2023                                 Respectfully submitted,


                                                      By:     ____________________
                                                              Scott Alan Burroughs, Esq.
                                                              DONIGER / BURROUGHS
                                                              Attorneys for Plaintiff


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